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     22-2649     UNITED STATES COURT OF APPEALS
                     FOR THE SECOND CIRCUIT


 CHINESE AMERICAN CITIZENS ALLIANCE OF GREATER NEW YORK,
                      Plaintiff - Appellant,

       CHRISTA MCAULIFFE INTERMEDIATE SCHOOL PTO, INC.,
          ASIAN AMERICAN COALITION FOR EDUCATION,
        PHILLIP YAN HING WONG, YI FANG CHEN, CHI WANG,
                           Plaintiffs,
                                      v.
      ERIC ADAMS, in his official capacity as Mayor of New York,
RICHARD A CARRANZA, in his official capacity as Chancellor of the New York
                 City Department of Education,
                     Defendants - Appellees,

   TEENS TAKE CHARGE, DESIS RISING UP AND MOVING, HISPANIC
       FEDERATION, ELIZABETH PIERRET, on behalf of her minor son
            O.R., ODUNLAMI SHOWA, on behalf of his minor child
A.S., TIFFANY BOND, on behalf of her minor child K.B, LAUREN MAHONEY,
on behalf of her minor children N.D.F and N.E.F, ROSA VELASQUEZ, on behalf
 of her minor child C.M., COALITION FOR ASIAN AMERICAN CHILDREN
                                AND FAMILIES,
                             Intervenors - Appellees.

               On Appeal from the United States District Court
                   for the Southern District of New York
                 Honorable Edgardo Ramos, District Judge

BRIEF OF INTERVENORS-APPELLEES IN SUPPORT OF AFFIRMANCE
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                  CORPORATE DISCLOSURE STATEMENT
      Pursuant to Federal Rules of Appellate Procedure 26.1, the undersigned

counsel for Intervenors-Appellees make the following disclosures:

      Teens Take Charge is a non-profit organization, fiscally sponsored by FJC, a

501(c)(3) public charity. It does not issue stock, and thus, no publicly held

corporation can own 10 or more percent of its stock.

      Desis Rising Up and Moving is a membership-led not-for-profit organization

with no parent, subsidiary, or corporate affiliate. It does not issue stock, and thus, no

publicly held corporation can own 10 or more percent of its stock.

      Hispanic Federation is a not-for-profit member organization, incorporated

under the laws of the state of New York, with no parent, subsidiary, or corporate

affiliate. It does not issue stock, and thus, no publicly held corporation can own 10

or more percent of its stock.

      Coalition for Asian American Children and Families is a not-for-profit

organization with no parent, subsidiary, or corporate affiliate. It does not issue stock,

and thus, no publicly held corporation can own 10 or more percent of its stock.




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                       STATEMENT OF JURISDICTION
      The District Court had jurisdiction over Chinese American Citizens Alliance

of Greater New York’s (“CACAGNY”) Equal Protection claim under 28 U.S.C.

§ 1331. On September 8, 2022, the District Court granted summary judgment for the

Defendants. CACAGNY timely appealed. This Court has jurisdiction under 28

U.S.C. § 1291.

                         STATEMENT OF THE ISSUES
      A.     Whether summary judgment was appropriate on Chinese American

Citizens Alliance of Greater New York’s (“CACAGNY”) Equal Protection claim

because CACAGNY failed to sustain its required burden of proving that the

Discovery Expansion had a discriminatory effect on Asian Americans, where (i)

CACAGNY concedes that “Asian American admissions to the specialized schools

as a whole fared slightly better under the policy,” (ii) in 2019 and 2020, Asian

Americans were up to 6 to 7.5 times more likely than Black, Latinx, and white

students to receive an offer, and (iii) after the Discovery Expansion, Asian

Americans were consistently given offers at a rate considerably higher than their

participation in the applicant pool.

      B.     Whether the Discovery Expansion on its face discriminates against

Asian American students, even though it is a race-neutral reform that applies to every

student seeking admission to New York City’s Specialized High Schools.



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                           STATEMENT OF THE CASE
       Pursuant to federal and state law,1 New York City and its Department of

Education (together, “NYCDOE”) have a responsibility to ensure that all students

have an equal opportunity to compete for admission to its public, taxpayer-funded

Specialized High Schools.2 Yet, for decades, NYCDOE has maintained an

admissions process that results in the marked under-identification of Black and

Latinx students eligible for admission to the City’s most prestigious schools. See

Joint Appendix (“J.A.”) 497–498. Although two-thirds of New York City public




1
   See, e.g., 42 U.S.C. § 4000(b); 34 C.F.R. § 100.3(b)(2) (prohibiting racial
discrimination, including policies that have the effect of denying the benefit of a
federally funded program to individuals of a certain race); N.Y. Const., art. I, § 11
(“No person shall be denied the equal protection of the laws of this state or any
subdivision thereof. No person shall, because of race, color, creed or religion, be
subjected to any discrimination in his or her civil rights by any other person or by
any firm, corporation, or institution, or by the state or any agency or subdivision of
the state.”); N.Y. Exec. L. § 291, Editor’s Notes (Consol. 2023) (outlawing policies
that have a racially disparate impact, imposing “a responsibility to act to assure that
every individual within this state is afforded an equal opportunity to enjoy a full and
productive life,” and guaranteeing that the “opportunity to obtain education . . .
without discrimination because of . . . race, . . . color, [or] national origin” is a “civil
right.”).
2
 NYCDOE operates eight Specialized High Schools: Bronx High School of Science
(“Bronx Science”); Stuyvesant High School (“Stuyvesant”); Brooklyn Technical
High School (“Brooklyn Tech”); Brooklyn Latin School (“Brooklyn Latin”); High
School for Mathematics, Science and Engineering at City College of New York
(“HSMSE”); High School of American Studies at Lehman College (“Lehman”);
Staten Island Technical High School (“Staten Island Tech”); and Queens High
School for the Sciences at York College (“Queens Science”). J.A. 498.


                                             2
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school students are Black and Latinx, they represent only a small fraction of students

enrolled in the Specialized High Schools. Id.

      No racial group has a monopoly on talent, and the systematic exclusion of

Black and Latinx students does not reflect a lack of aptitude to excel in the

Specialized High Schools. See id. Instead, as advocates have demonstrated, using

the Specialized High School Admissions Test (“SHSAT”) as the sole determinant of

admission to these public schools is an invalid method of admission and a poor

predictor of performance that leads to the glaring lack of Black and Latinx students

at the Specialized High Schools.3 See Jaclyn Zubrzycki, Civil Rights Group

Questions Specialized Schools’ Admissions in N.Y.C., EDUC. WEEK (Sept. 27, 2012).

The single-test admissions process is flawed because it fails to achieve its stated

purpose: to objectively and fairly identify all students who could thrive in the

Specialized High Schools. See J.A. 498. “Under this admissions policy, regardless

of whether a student has achieved straight A’s from kindergarten through eighth

grade or whether he or she demonstrates other signs of high academic potential, the

only factor that matters for admission is his or her score on a single test.” See Letter



3
  Tests are “valid” when they assess “what they claim to test (i.e., content validity)
and correlate strongly with performance in [the academic institution they are used to
assess suitability for] (predictive validity).” Consultation on the Validity of Testing
in Education and Employment Before the U.S. Commission on Civil Rights (June 16,
1989) (statement of James W. Loewen), in THE VALIDITY OF TESTING IN EDUCATION
AND EMPLOYMENT, 42 (Eileen Rudert ed., 1993).


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from Damon T. Hewitt, NAACP Legal Def. & Educ. Fund, Inc., et al., to N.Y.

Office, Office for Civil Rights, U.S. Dep’t of Educ. (Sept. 27, 2012), available at

https://www.naacpldf.org/wp-content/uploads/Specialized-High-Schools-

Complaint.pdf.

      Faced with a flawed admissions process that relies on a single multiple-choice

test and the resulting longstanding, marked under-identification of Black and Latinx

students for elite high schools in a majority Black and Latinx school district,

NYCDOE took modest action designed to improve access. See J.A. 499. It did so by

making limited revisions to the Discovery Program, which is the supplemental

admissions program for the Specialized High Schools that allows some

disadvantaged students (of all races) who score under the cutoff on the SHSAT to

nonetheless receive an offer of admissions. See J.A. 500. First, NYCDOE revised

the Discovery Program’s definition of “disadvantaged” to focus on attendance at

high-poverty schools, and second, NYCDOE increased the allocation of available

seats to Discovery Program students to 20% (collectively “Discovery Expansion”).

See J.A. 500–01.

      In seeking to reinstate the previous version of the Discovery Program,

Appellant Chinese American Citizens Alliance of Greater New York

(“CACAGNY”) would have NYCDOE abdicate its responsibility to make the

admissions process fair for all students. CACAGNY baselessly characterizes


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NYCDOE’s race-neutral effort to provide students of all races with equal

educational opportunities as intentional racial discrimination against Asian

Americans.

      Binding precedent forecloses CACAGNY’s theory. The Equal Protection

Clause does not prohibit a school district from making policy changes to a flawed

admissions process simply because it is foreseeable, or intended, that those changes

may help remedy the conspicuous under-identification of Black and Latinx students.

As the lower court recognized, to adopt CACAGNY’s conclusion “requires one to

accept the proposition that a facially neutral policy seeking to improve racial

diversity necessarily carries with it discriminatory intent. That is not the law.”

Christa McAuliffe Intermediate Sch. PTO, Inc. v. de Blasio, 364 F. Supp. 3d 253,

278 (S.D.N.Y. 2019) (hereinafter “McAuliffe I”). This Court has likewise made clear

that “nothing in our jurisprudence precludes the use of race-neutral means to

improve racial and gender representation.” Hayden v. County of Nassau, 180 F.3d

42, 51 (2d Cir. 1999) (citing City of Richmond v. J.A. Croson Co., 488 U.S. 469,

509-10 (1989)). Indeed, “to equate a ‘desire to eliminate the discriminatory impact’

on some disadvantaged groups with ‘an intent to discriminate against’ other groups

‘could seriously stifle attempts to remedy discrimination.’” Jana-Rock Constr., Inc.

v. N.Y. State Dep’t of Econ. Dev., 438 F.3d 195, 211 (2d Cir. 2006) (quoting Hayden,

180 F.3d at 51).


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      Among other fundamental flaws with CACAGNY’s theory, it cannot

demonstrate any discriminatory effect from NYCDOE’s new admissions policy.

Asian American students remain significantly more likely to be given an offer of

admission than their peers, and their representation in the Specialized High Schools

has in fact slightly increased under the challenged Discovery Expansion. See

J.A. 502.

      Accordingly, Intervenors-Appellees Teens Take Charge, Desis Rising Up and

Moving, Hispanic Federation, and the Coalition for Asian American Children and

Families urge this Court to affirm the District Court’s grant of summary judgment.

I.    The Specialized High Schools Admissions Process Has Long Under-
      Identified Talented Black and Latinx Students.
      Since 1971, the sole determinant of admission to the Specialized High Schools

is a student’s rank-order score on the SHSAT. See J.A. 157; N.Y. Educ. Law § 2590-

g(12)(b) (1997). For at least as long, there have been serious concerns that the

SHSAT, like other standardized tests, underpredicts the potential of Black and

Latinx examinees.4 Such tests often pose questions using language with varying




4
 Jim Dwyer, Decades Ago, New York Dug a Moat around Its Specialized Schools,
N.Y.         TIMES         (June        8,       2018),          available   at
https://www.nytimes.com/2018/06/08/nyregion/about-shsat-specialized-high-
schools-test.html (noting that, as the 1971 law requiring the SHSAT was being
considered, there were “serious charges ‘that the examinations discriminate on
cultural grounds, against Negro and Puerto Rican applicants.’”).


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colloquial meanings, with the exam crediting answers that reflect the meaning most

frequently used in white, middle-class homes like those of the test creators.5 Such

culturally biased questions artificially depress the test scores of Black and Latinx

examinees.6 Adding insult to injury, test makers’ reliability checks reproduce that

cultural bias over time, only deeming new test questions reliable enough to be added

to the test if “high ability” examinees (those who understood the semantics used in

white, middle-class homes) perform well on them.7 Given the racial bias baked into

the test itself and unequal access to test preparation courses, it is unsurprising that

some studies have found that the predictive validity of the SHSAT is low.8


5
 See generally Roy O. Freedle, Correcting the SAT’s Ethnic and Social-Class Bias:
A Method for Reestimating SAT Scores, 73 HARV. EDUC. REV. 1, 28–29 (2003) (also
noting that there is “evidence for this bias pattern across a wide span of tests” and
mentioning evidence of cultural bias on Advanced Placement exams, the GRE, and
high school vocabulary exams); Maria Veronica Santelices & Mark Wilson, Unfair
Treatment? The Case of Freedle, the SAT, and the Standardization Approach to
Differential Item Functioning, 80 HARV. EDUC. REV. 106, 126, 128 (2010)
(replicating Freedle’s findings, showing that one standardized test - the SAT -
“favors one ethnic group over another” and calling into “question the validity of
SAT verbal scores for [Black] examinees.”)
6
    See id.
7
  Jay Rosner, The SAT: Quantifying the Unfairness Behind the Bubbles, in SAT
WARS: THE CASE FOR TEST-OPTIONAL COLLEGE ADMISSIONS 134 (Joseph A. Soares
2015) (internal citation omitted) (This process is “used by psychometricians to
construct admissions tests such as the SAT, ACT, GRE, LSAT, GMAT, MCAT, and
many other bubble tests.”).
8
  Gundanna Decl., Christa McAuliffe Intermediate Sch. PTO, Inc. v. Adams, No.
1:18-CV-11657-ER (June 27, 2019), ECF No. 102-9 at 12 (“As a single determinant
for admissions to the specialized high schools, the current exam is not only shown


                                           7
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      As Intervenors-Appellees highlighted below, the “current single-test method

of admissions to the Specialized High Schools makes it unlikely for even highly

capable students from Black, Latinx, and underrepresented Asian communities, who

are more likely to attend high-poverty, low-opportunity, and segregated middle

schools, to access these elite schools.” Memo. of Law in Support of Mot. to Intervene

as Defs., Christa McAuliffe Intermediate Sch. PTO, Inc. v. Adams¸ No. 1:18-CV-

11657-ER (S.D.N.Y. June 27, 2019), ECF No. 101, at 20.

      The racial makeup of New York City’s public high schools in 2019 was 40%

Hispanic, 26% Black, 16% Asian American, and 15% white. J.A. 497. Even though

Black and Hispanic students made up 66% of New York City public high school

students, they only made up 13.5% of Brooklyn Tech students, 8.7% of Bronx

Science students, 3.5% of Staten Island Tech students, 23.9% of Brooklyn Latin

students, 25.2% of HSMSE students, 8.4% of Queens Science students, and 15% of

students at Lehman. Id. In contrast, Asian Americans made up 61.3% of Brooklyn

Tech students, 65.6% of Bronx Science students, 48.4% of Staten Island Tech


to be an invalid admissions measure, but it is also discriminatory and detrimental to
the long-term success of all students, including APA students.” See also Taylor,
Jonathan, Policy Implications of a Predictive Validity Study of the Specialized High
School Admissions Test at Three Elite New York City High Schools (2015) (Ph.D
dissertation, Graduate Center, City University of New York) (ProQuest),
https://www.proquest.com/openview/5d238f2ba4f286786a68f29be59b4159/1?pq-
origsite=gscholar&cbl=18750; Taylor, Jonathan, Fairness to Gifted Girls:
Admissions to New York City’s Elite Public High Schools, 25 J. WOMEN &
MINORITIES SCI. & ENG’G 1, 89 (2019).

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students, 51.5% of Brooklyn Latin students, 36.2% of HSMSE students, 81% of

Queens Science students, and 22% of the Lehman students. J.A. 498. White students

were also overrepresented compared to their share of the student population, making

up 23.3% of Brooklyn Tech students, 23.3% of Bronx Science students, 44.8% of

Staten Island students, 13.9% of Brooklyn Latin students, 27.2% of HSME students,

5.9% of Queens Science students, and 58.5% of the Lehman students. Christa

McAuliffe, No. 1:18-cv-11657 (S.D.N.Y. Dec. 13, 2018), ECF No. 18-4. In 2018,

Stuyvesant admitted almost a thousand students, but only 10 of those students were

Black and less than 30 were Latinx. J.A. 233.

II.   The Specialized High Schools’ Admissions Process Prompts Public
      Scrutiny and Government Change.
      The paucity of Black and Latinx students in the Specialized High Schools and

the use of admissions criteria comprised of a single test score, have attracted, as the

District Court highlighted, “scrutiny from civil rights groups and government

agencies” for decades. Christa McAuliffe Intermediate Sch. PTO, Inc. v. de Blasio,

No. 18-CV-11657-ER, 2022 WL 4095906, at *1 (S.D.N.Y. Sept. 7, 2022)

(“McAuliffe III”) (also noting that the racial disparity in admissions to the

Specialized High Schools has been recognized as a persistent “problem”). 9 In


9
  There have been two investigations done by the U.S. Department of Education’s
Office for Civil Rights (“OCR”) into whether the use of the SHSAT as an admission
standard constituted a form of discrimination against racial minorities and women,


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response, in 2018, NYCDOE began considering measures to address the

conspicuous under-identification of talented Black and Latinx students capable of

success at the Specialized High Schools and increase their geographic and

socioeconomic diversity. See J.A. 499.

      The 1971 Hecht-Calandra Act (“Act”), which makes the SHSAT

determinative in admissions, permits the use of a “[D]iscovery [P]rogram to give

disadvantaged students of demonstrated high potential an opportunity” to earn

admission into one of the Specialized High Schools. J.A. 157; N.Y. Educ. Law

§ 2590-g(12)(d). The Discovery Program is open to students who (1) take the

SHSAT but score just below the score cut-off; (2) are certified by their local schools

as “disadvantaged”; (3) are recommended by their middle school “as having high

potential for the special high school program”; and (4) attend, and subsequently pass,

a summer preparatory program administered by the high school. J.A. 157; N.Y.

Educ. Law § 2590-g(12)(d).

      On June 3, 2018, then-Mayor de Blasio and then-Chancellor Carranza

announced a modest set of remedial measures, in part to address the under-

identification of meritorious Black and Latinx students and to ensure that



first in 1977 and second in 2012, in response to a complaint filed by numerous
community groups represented by NAACP Legal Defense and Educational Fund,
Inc., Latino Justice PRLDEF, and the Center for Law and Social Justice at Medgar
Evers College. See McAuliffe I, 364 F. Supp. 3d at 266.

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disadvantaged students residing in New York City have an opportunity to enroll in,

and benefit from, the Specialized High Schools. Wallack Decl. ¶ 19, McAuliffe

Intermediate Sch. PTO, Inc. v. Adams, No. 1:18-CV-11657-ER (Jan. 17, 2019), ECF

50.10 First, NYCDOE announced the mandatory use and expansion of the Discovery

Program by all Specialized High Schools. J.A. 499. This change required that each

Specialized High School use the Discovery Program to fill at least 13% of its seats

for the 2019-2020 school year and 20% of its seats in the following years. J.A. 430–

31.

      Second, NYCDOE changed the methodology for determining whether a

student applicant is “disadvantaged” in order to target disadvantaged students more

accurately for eligibility in the Discovery Program. Wallack Decl. ¶¶ 4, 25,

McAuliffe Intermediate Sch. PTO, Inc. v. Adams, No. 1:18-CV-11657-ER (Jan. 17,

2019), ECF No. 50. Prior to the Discovery Expansion, NYCDOE considered a

student disadvantaged and eligible for the Discovery Program if one of the following

five factors was satisfied: (1) eligibility for free lunch; (2) eligibility for reduced-

price lunch and attendance at a Title I school; (3) receipt of New York City public

assistance; (4) status as a foster child, ward of the state, or residency in temporary

housing; or (5) residency in the United States for under four years in a home with a


10
  See also id. at ¶ 25 (“The gradual expansion of the Discovery Program is designed
to increase the diversity of the Specialized High School[s] across these dimensions[:]
racial, ethnic, geographic and socio-economic. . .”).

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primary language other than English. J.A. 500. Now, in addition to meeting

substantially the same requirements, to be eligible for the Discovery Program, a

student must also attend a high-poverty middle school according to the City’s

Economic Need Index (“ENI”)—a school with an ENI of 0.6 or above. Wallack

Decl. ¶ 20, McAuliffe Intermediate Sch. PTO, Inc. v. Adams, No. 1:18-CV-11657-

ER (Jan. 17, 2019), ECF No. 50; J.A. 500. A middle school’s ENI is a race-neutral

measure of disadvantage that is determined by averaging the Economic Need Value

(“ENV”) of each student. See J.A. 500. ENV is a NYCDOE measure of a given

student’s economic hardship. See id. NYCDOE uses the ENI factor to make “a more

specific assessment of the level of economic hardship at a school” and chose the 0.6

threshold “to more precisely target schools where the majority of students are facing

economic hardship and the disadvantages that accompany it.” Wallack Decl. ¶ 25,

McAuliffe Intermediate Sch. PTO, Inc. v. Adams, No. 1:18-CV-11657-ER (Jan. 17,

2019), ECF No. 50.11


11
   As the District Court recognized, “scientific studies show that low-income
students attending high-poverty schools are more disadvantaged . . . than similarly-
situated students attending lower-poverty schools.” McAuliffe III, 2022 WL
4095906, at *8. Low-income students who attend high-poverty schools have far less
opportunity to develop latent talent than low-income students who attend schools
with a lower concentration of poverty, and, consequently, are less likely to be
identified as meriting admission by an admissions process that does not consider the
concentrations of poverty at the attended school. See, e.g., Scott J. Peters & Kenneth
G. Engerrand, Equity and Excellence: Proactive Efforts in Identification of
Underrepresented Students for Gifted and Talented Services, 60(3) GIFTED CHILD


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      The Discovery Expansion resulted in an increase in the percentage of

admissions offers given to Asian Americans as well as an increase in the

representation of Asian Americans at the Specialized High Schools. J.A. 502. Before

the Discovery Expansion, in 2018, Asian Americans were 31.1% of the applicant

pool and received 52.2% of the offers. J.A. 77. After the Discovery Expansion, in

2019, even though Asian Americans constituted 30.7% of the applicant pool, they

received 52.5% of the total offers. Id. Likewise, in 2020, Asian Americans were

31.4% of the applicant pool and received 54.8% of the offers. Id. In other words,

after the Discovery Expansion, Asian Americans were consistently given offers at a

rate considerably higher than their participation in the applicant pool.

      In 2019, Asian American students were 7.5 times more likely than Black

students to receive an offer to attend a Specialized High School, 5.4 times more

likely than Latinx students to receive an offer, and 1.2 times more likely to receive

an offer than white students.12 See J.A. 78. In 2020, they were six times more likely

than Black students to receive an offer to attend a specialized high school, five times


Q. 159, 165 (2016); Rashea Hamilton et al., Disentangling the Roles of Institutional
and Individual Poverty in the Identification of Gifted Students, 62 GIFTED CHILD Q.
6, 21 (2018).
12
  In 2019, 33.2% of Asian American students who took the SHSAT were offered a
spot at a Specialized High School, in comparison to 4.4% of Black students, 6.1%
of Latinx students, and 28.2% of white students. See J.A. at 78. Therefore, Asian
Americans were 7.5 times (33.2 / 4.4) more likely than Black students to receive an
offer, 5.4 times (33.2 / 6.1) more likely than Latinx students to receive an offer, and
1.2 (33.2 / 28.2) times more likely to receive an offer than white students.

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more likely than Latinx students to receive an offer, and 1.2 times more likely than

white students to receive an offer. J.A 78.

III.   Procedural History
       On December 13, 2018, Plaintiffs commenced this action, claiming that the

Discovery Expansion violates the Equal Protection Clause of the Fourteenth

Amendment of the United States Constitution by discriminating against Asian

Americans. J.A. 503.

       The District Court denied Plaintiffs’ preliminary injunction motion on

February 25, 2019, finding that Plaintiffs were not likely to succeed on their Equal

Protection claim because binding precedent rejects Plaintiffs’ argument “that a

facially neutral policy seeking to improve racial diversity necessarily carries with it

discriminatory intent.” McAuliffe I, 364 F. Supp. 3d at 278.

       On September 25, 2019, the District Court ordered that discovery in this case

be bifurcated, with Phase I of the discovery addressing whether the Discovery

Expansion had any discriminatory effect and Phase II focusing on the NYCDOE’s

motivations for adopting the Discovery Expansion. J.A. 39.

       On March 24, 2020, the District Court granted Intervenors-Appellees’ motion

to intervene as Defendants seeking to defend reforms to the Discovery Program.

Christa McAuliffe Intermediate Sch. PTO, Inc. v. de Blasio, No. 18-CV-11657-ER,




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2020 WL 1432213 (S.D.N.Y. Mar. 24, 2020) (“McAuliffe II”).13 In seeking to

intervene, Intervenors-Appellees highlighted that they are “membership and/or

community-based organizations that support education equity and whose

constituents include students and families of racial and ethnic groups who are

underrepresented in the Specialized High Schools.” Memo. of Law in Support of

Mot. to Intervene as Defs., Christa McAuliffe Intermediate Sch. PTO, Inc. v. Adams¸

No. 1:18-CV-11657-ER, (S.D.N.Y. May 3, 2019), ECF No. 101, at 7. After the

close of Phase I of discovery, on October 1, 2021, NYCDOE moved for, and the

District Court granted, summary judgment. J.A. 42–43. The District Court found

that the Discovery Expansion is facially race-neutral, as it “do[es] not classify

students by race” and further noted that “Plaintiffs do not allege that [the Discovery

Expansion is] being administered in a racially discriminatory way.” McAuliffe III,

2022 WL 4095906, at *5. As such, under this Court’s precedent, Plaintiffs were

required to show that the reforms “(1) have resulted in a discriminatory effect, and

(2) were motivated by a discriminatory purpose.” Id. at *9. The District Court

concluded summary judgment was warranted under this standard, as it was clear




13
  The following intervenors are not appellees in this appeal: Elizabeth Pierret, on
behalf of her minor son O.R., Odunlami Showa, on behalf of his minor child A.S.,
Tiffany Bond, on behalf of her minor child K.B, Lauren Mahoney, on behalf of her
minor children N.D.F and N.E.F, and Rosa Velasquez, on behalf of her minor child
C.M.

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beyond triable dispute that the Discovery Expansion did not have a discriminatory

effect on Asian Americans. Id. at *9, *12.

      The District Court further recognized that Plaintiffs’ argument that

“discriminatory effect can be shown by way of ‘unequal treatment’—without any

evidence of aggregate harm—conflicts with Supreme Court precedent and lacks any

support.” Id. at *8. The District Court held that the Discovery Expansion does not

treat students differently on the basis of race because “[d]isadvantaged students

attending schools with an ENI of 0.6 or more have the same eligibility to participate

in the [Discovery] Program [a]nd all disadvantaged students attending schools with

an ENI of less than 0.6 are equally prohibited from participating in Discovery,

regardless of their race.” Id. (emphasis added). Thus, the District Court concluded,

“ENI, at its core, is a measure of economic disadvantage—not of a school’s racial

composition.” Id. CACAGNY now appeals.

                      SUMMARY OF THE ARGUMENT
      This lawsuit aims to deter school systems from pursuing race-neutral reforms

to equalize access to publicly-funded educational opportunities, even when those

reforms are urgently necessary to remedy the longstanding denial of equal

educational opportunities to Black, Latinx, and other underserved students,




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including many Asian American students.14 In bringing this appeal, CACAGNY is

attempting to entrench a flawed status quo that fails to identify many qualified

students.

      To achieve this goal, CACAGNY attempts to rewrite Equal Protection law.

CACAGNY first argues that it need not show that the Discovery Expansion had a

discriminatory effect on Asian Americans in order to prove that this race-neutral,

evenly-applied policy is unconstitutional. Second, CACAGNY argues that it can

show that Asian Americans were in fact adversely affected by the Discovery

Expansion by pointing to insignificant trends at two of the eight Specialized High

Schools, even though the undisputed facts demonstrate that the Discovery Expansion

has yielded an even greater share of offers for Asian Americans to attend the

Specialized High Schools. Third, similarly relying on cherry picked data alone,

CACAGNY argues that the Discovery Expansion treats Asian American students

unequally because the ENI measure used by NYCDOE is a proxy for race, and




14
   See, e.g., Health of Asians and Pacific Islanders, NYC.GOV, 17 (2021),
https://www.nyc.gov/assets/doh/downloads/pdf/episrv/asian-pacific-islander-
health-2021.pdf (visited Mar. 21, 2023); J.A. 34 n.2 (referring to a press release
wherein CAAAV Organizing Asian Communities noted the importance of
abandoning test-only admissions so that “[s]tudents of color, including low-income
Asian American students from ethnic communities less represented at the
specialized high schools, would have a more equitable chance at attending these
schools”).


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therefore the policy changes should be viewed and analyzed as if they were not race-

neutral.

      Precedent forecloses each argument.15 First, CACAGNY is required to show

that the Discovery Expansion has an adverse racially discriminatory effect on Asian

Americans. See Hayden, 180 F.3d at 48 (holding that a “facially neutral statute

violates Equal Protection if it was motivated by discriminatory animus and its

application results in a discriminatory effect”) (citing Village of Arlington Heights

v. Metropolitan Hous. Dev. Corp., 429 U.S. 252, 264–65 (1977)) (emphasis added).

It has failed to do so. Under the Discovery Expansion, Asian Americans continue to

be more likely than students from any other racial group to be admitted to the

Specialized High Schools.

      Second, because the Discovery Expansion is a race-neutral and evenly-

applied policy, CACAGNY must show that the policy had a discriminatory effect

on Asian American students seeking admission to the Specialized High Schools as

a whole. It is well-established that discriminatory effect is determined by the

challenged law or policy’s impact on a group-wide basis. See Washington v. Davis,



15
   “This Court has generally recognized three types of equal protection violations:
(1) a facially discriminatory law; (2) a facially neutral statute that was adopted with
a discriminatory intent and applied with a discriminatory effect . . . ; and (3) a facially
neutral law that is enforced in a discriminatory manner.” Chabad Lubavitch of
Litchfield Cnty., Inc. v. Litchfield Historic Distr. Com’n, 768 F.3d 183, 199 (2d Cir.
2014) (citations omitted). The first and third types of violation are not at issue here.

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426 U.S. 229, 242 (1976) (describing discriminatory effect as whether a law “may

affect a greater proportion of one race than another.”); Anderson ex rel. Dowd v. City

of Boston, 375 F.3d 71, 89 (1st Cir. 2004) (“Courts can only infer that an invidious

racial purpose motivated a facially neutral policy when that policy creates

disproportionate racial results.”). CACAGNY cannot manufacture discriminatory

effect by pointing to a possible impact on individual students at only two of the eight

Specialized High Schools.

      Third, the Discovery Program’s use of the ENI as a measure of disadvantage

does not transform the facially race-neutral policy into a facially discriminatory one,

nor does it excuse CACAGNY from its obligation to demonstrate discriminatory

effect. The ENI is a measure of economic disadvantage, not a proxy for race, and

does not treat Asian Americans differently. The small sample of disproportionately

Asian American middle schools CACAGNY highlights constitute only about a tenth

of the middle schools that are excluded from the Discovery Expansion for not

meeting the measure of concentrated poverty.16 And more than half of Asian-

American-majority middle schools in New York City are eligible under the


16
   CACAGNY’s brief notes that “eleven of the twenty-four majority-Asian-
American middle schools were excluded by the ENI restriction.” App. Op. Br. at 52
(citing J.A. 305–06, 307 n.6). It also notes that, at that time, 515 out of 621 middle
schools were eligible for the Discovery Expansion. Id.; see also J.A. 336. Therefore,
106 schools were ineligible, meaning that the eleven schools CACAGNY highlights
constitute 10.4% of the ineligible middle schools.


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Discovery Expansion.17 Simply put, CACAGNY still needs to show discriminatory

effect, and it has not.

       Finally, this appeal is limited to the lower court’s ruling on the absence of a

discriminatory effect. Despite CACAGNY’s attempt to make it so, the issue of the

policy makers’ motivations is not at issue here. In any event, the Discovery

Expansion did not reflect any discriminatory intent. Contrary to the CACAGNY’s

claims, courts have routinely held that race-neutral strategies to address racial

inequities do not constitute intentional discrimination and are constitutionally

permissible. See, e.g., Ass’n for Educ. Fairness v. Montgomery Cnty. Bd. of Educ.,

560 F. Supp. 3d 929, 951 (D. Md. 2021) (holding local governments are permitted

to “take race into consideration in its policymaking and not run afoul of the Equal

Protection Clause.”) (citing Doe ex rel. Doe v. Lower Merion Sch. Dist., 665 F.3d

524, 548 (3d. Cir. 2011) (“Designing a policy with racial factors in mind does not

constitute racial classification if the policy is facially neutral and is administered in

a race-neutral fashion.”).

       Summary judgment for the Defendants-Appellees is proper. Accordingly, this

Court should affirm.




17
   CACAGNY highlights that eleven out of the twenty-four majority-Asian-
American middle schools are ineligible for the Discovery Program. See App. Op.
Br. at 52, meaning that a majority (thirteen out of twenty-four) are eligible.

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                            STANDARD OF REVIEW
      This Court reviews the District Court’s grant of summary judgment de novo,

viewing the evidence in the light most favorable to the non-moving party and

drawing all inferences in their favor. See Sista v. CDC Ixis N. Am., Inc., 445 F.3d

161, 168–69 (2d Cir. 2006). “Summary judgment is appropriate only if ‘there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.’” Bey v. City of New York, 999 F.3d 157, 164 (2d Cir. 2021) (quoting

Fed. R. Civ. P. 56(a)).

                                   ARGUMENT
      This Court should affirm the District Court’s grant of summary judgment for

the Defendants-Appellees because it is undisputed that the Discovery Expansion is

facially race-neutral, and CACAGNY has not shown that the program has a

discriminatory effect on Asian Americans. The law in this Circuit is clear: to

establish an Equal Protection violation when challenging a facially race-neutral

policy, a plaintiff must prove both that the law results in a discriminatory effect and

it is motivated by a discriminatory purpose. See Hayden, 180 F.3d at 48; see also

Chabad Lubavitch of Litchfield Cnty.,768 F.3d at 199 (recognizing as a type of Equal

Protection violation “a facially neutral statute that was adopted with discriminatory




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intent and applied with discriminatory effect”) (emphasis added).18 CACAGNY

concedes that the Discovery Expansion is facially race-neutral. See, e.g., Appellants’

Op. Br. at 13; J.A. 18. And, as the District Court noted, Plaintiffs “do not allege that

the way [ Discovery Expansion is] being administered in a racially discriminatory

way.” McAuliffe III, 2022 WL 4095906, at *5. Given this, CACAGNY must prove

that the Discovery Expansion had a discriminatory effect and was enacted with

discriminatory intent. Since CACAGNY has failed to show discriminatory effect—

the only issue before the Court on appeal—this Court should affirm the grant of

summary judgment for the Defendants-Appellees.

I.    The Discovery Expansion Does Not Have a Discriminatory Effect on
      Asian Americans and Does Not Violate the Equal Protection Clause.

      A.     CACAGNY Must Show That the Challenged Policy Has an
             Adverse Racially Discriminatory Effect to Sustain an Equal
             Protection Claim in This Circuit.
      Plaintiffs challenging a facially race-neutral policy under the Equal Protection

Clause must show both that the policy had a discriminatory effect, and that its


18
   All parties to this appeal are bound by the law of this Circuit, and Intervenors-
Appellees apply it here. There may be circumstances where, from Intervenors-
Appellees’ perspective, a law or policy enacted for the specific purpose of harming
a group of people based on race or ethnicity should constitute an Equal Protection
violation without any further inquiry into the law’s impact. But that is clearly not
this case where the purported “discriminatory intent” is NYCDOE’s effort to take
modest steps to begin to remedy the stark and persisting under-identification of
Black and Latinx students at Specialized High Schools. In any event, this Court’s
precedent clearly imposes a discriminatory impact requirement for all equal
protection claims.

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enactment was motivated by a discriminatory purpose. See Hayden, 180 F.3d at 48

(citing Village of Arlington Heights v. Metropolitan Hous. Dev. Corp., 429 U.S. 252,

264–65 (1977)); see also United States v. City of Yonkers, 96 F.3d 600, 611 (2d Cir.

1996) (“A plaintiff is required to show not only that the state action complained of

had a disproportionate or discriminatory impact but also that the action was taken

with intent to discriminate.”). CACAGNY now erroneously asserts that it need not

demonstrate a discriminatory effect at all. App. Op. Br. at 41. However, CACAGNY

conceded below that it is required to show discriminatory effect. See J.A. 20 ¶ 61

(Plaintiffs’ complaint stating that “facially neutral state action violates the Equal

Protection Clause when it has a disparate impact upon a particular racial group and

was enacted with a racially discriminatory purpose”) (citing Arlington Heights, 429

U.S. 252, 264–65 (1977); Brown v. City of Oneonta, 221 F.3d 329, 337 (2d Cir.

2000)); Premotion Conference Hr’g Tr. 12:7–10, ECF No. 105 (Plaintiffs’ Counsel

agreeing “I do think that the Second Circuit, as opposing counsel has indicated, does

have language indicating that disparate impact is a prerequisite to prevailing under

an Arlington Heights theory.”).

      As it is well-settled law in this Circuit that one must show a discriminatory

effect as an element of intentional discrimination under the Equal Protection Clause,

Black and Latinx plaintiffs alleging discrimination have routinely been held to this

burden. See, e.g., Atkins v. Westchester Cnty. Dep’t of Soc. Serv., 31 F. App’x 52,


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54 (2d Cir. 2002) (granting summary judgment against Black employees’ Equal

Protection claim challenging entrance exam because plaintiffs failed to make a

“prima facie showing that the [ ] exam [ ] exerted a disparate impact on African-

American test-takers”); Chavez v. Illinois State Police, 251 F.3d 612, 645 (7th Cir.

2001) (granting summary judgment against Black and Hispanic motorists because

the court found that plaintiffs’ statistics did not show that the state’s police drug

interdiction unit’s traffic stop practice had a discriminatory effect on plaintiffs).

Likewise, the District Court held CACAGNY to the same burden, which it failed to

meet.

        Indeed, in challenges to equitable admissions reforms for selective K-12

programs, courts in other circuits have likewise recognized the discriminatory effect

requirement. See, e.g., Bos. Parent Coal. for Acad. Excellence Corp. v. Sch. Comm.

of City of Bos., 996 F.3d 37, 46 (1st Cir. 2021) (holding that plaintiffs were not likely

to succeed in challenging an admissions policy because the policy had no

discriminatory effect “as compared to a random distribution of invitations” to all

students) (hereinafter “Boston Parent II”); Ass’n for Educ. Fairness v. Montgomery

Cnty. Bd. of Educ., No. 8:20-CV-02540-PX, 2022 WL 3019762, at *7 (D. Md. July

29, 2022), motion for relief from judgment denied, No. 8:20-CV-02540-PX, 2022

WL 17740402 (D. Md. Dec. 16, 2022) (finding no discriminatory effect where,

under the challenged admissions reforms, “Asian American students consistently []


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occupied a proportionally greater share of students admitted into the magnet as

compared to their representation in applicant pool”). Tellingly, CACAGNY’s brief

fails to address these cases and their holdings.

      As set forth in more detail below, under any metric for measuring

discriminatory effect, the District Court correctly held that CACAGNY failed to

show that the Discovery Expansion had a discriminatory effect, and this Court

should affirm the grant of summary judgment.

      B.     The Correct Way to Measure Discriminatory Effect Is to Compare
             the Relevant Applicant Pool to the Share of Students Admitted to
             the Selective Program.
      C.     In examining whether a policy has a discriminatory effect, the proper

analysis is a comparison of the affected group’s representation in the admissions

pool against its representation among those selected for the program. See Coal. for

TJ. v. Fairfax Cnty. Sch. Bd., No. 22-1280, 2022 WL 986994, at *3 (4th Cir. Mar.

31, 2022) (Heytens, J., concurring) (noting that the “obviously relevant comparator

for determining whether this race neutral admissions policy has an outsized impact

on a particular racial group is the percentage of applicants versus percentage of

offers”); Montgomery Cnty., 2022 WL 3019762, at *7 (comparing the share of Asian

Americans admitted into the magnet program to the share of Asian Americans in the




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applicant pool);19 Vaughns v. Bd. of Educ. of Prince George’s Cnty., 574 F. Supp.

1280, 1304 (D. Md. 1983), aff’d in part, rev’d in part on other grounds, 758 F.2d

983 (4th Cir. 1985) (comparing “[B]lack children . . . in the [gifted and talented]

program relative to their population in the school system as a whole”). This method

of analysis “targets more directly the core question for assessing disparate impact:

whether members of one group have, proportionally, more difficulty securing

admission than others.” Coal. for TJ, 2022 WL 986994, at *3 (Heytens, J.,

concurring). In other words, calculating the proportion of applicants from each

racial group who were admitted enables the court to compare admissions rates

among racial groups; if applicants from a certain group are far less likely to be

admitted than their peers, the challenged policy may be artificially depressing that

group’s chances of admission.

      D.     The Department of Education’s Office for Civil Rights also uses the

comparison between the applicant pool and the pool of admitted students to

determine disparate impact in the K-12 context for purposes of administrative

proceedings under Title VI. See, e.g., Gallup-McKinley Cnty. Sch. Resol., U.S. Dep’t

of Educ., No. 08-11-5002 at *12 (2017) (comparing “the number of American Indian



19
   The lower court incorrectly stated that the district court in Montgomery County
found discriminatory effect. See J.A. 511 at 16. To the contrary, that case was
dismissed because the Plaintiff’s discriminatory effect allegations were not
plausible. Montgomery Cnty., 2022 WL 3019762, at *7.

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students enrolled in the District and the number of American Indian students who

participate in the District’s [gifted and talented] program and honors and AP

courses”). Similarly, in employment discrimination cases, courts calculate disparate

impact by comparing the applicant pool to the group of applicants who are selected.

See, e.g., Hayden, 180 F.3d at 46, 51–52 (affirming a dismissal at the motion to

dismiss stage for failure to plead that an employment selection exam’s results

reflected a disparate impact relative to representation in the candidate pool); Pers.

Adm. of Mass. v. Feeney, 442 U.S. 256, 270 (1979) (comparing the percentage of

applicants who were women to the percentage of the people selected who were

women).

      E.     In line with this precedent, this Court should analyze discriminatory

effect by comparing the pool of students who applied to the Specialized High

Schools—i.e., the students who took the SHSAT exam—with the pool of students

admitted to the Specialized High Schools. Using this comparison, and as discussed

more fully below, the Court must affirm the District Court’s determination that the

Discovery Expansion had no discriminatory effect on Asian Americans.

      C.     CACAGNY Has Not Shown Discriminatory Effect.
      F.     Even with the Discovery Expansion, Asian Americans continue to be

more likely to be admitted to a Specialized High School than students of any other

racial or ethnic group. Indeed, after the Discovery Expansion, Asian Americans are



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consistently given offers at a rate considerably higher than their participation in the

applicant pool. J.A. 502. In 2019, the first year of the Discovery Expansion, Asian

Americans were 30.7% of the applicant pool and received 52.5% of the offers to

attend one of the Specialized High Schools. Id. That year, Asian Americans were

7.5 times more likely than Black students to receive an offer to attend a Specialized

High School, 5.4 times more likely than Latinx students to receive an offer, and 1.2

times more likely to receive an offer than white students.20 See J.A. 78.

      G.     In 2020, Asian Americans were an even larger share of the pool of

students admitted to the Specialized High Schools as compared to their share of the

applicant pool; that year, Asian Americans were 31.4% of the applicant pool and

received 54.8% of the offers. J.A. 77. They were six times more likely than Black

students to receive an offer to attend a Specialized High School, five times more

likely than Latinx students to receive an offer, and 1.2 times more likely than white

students to receive an offer.21 See J.A 78.


20
  In 2019, 33.2% of Asian American students who took the SHSAT were offered a
spot at a Specialized High School, in comparison to 4.4% of Black students, 6.1%
of Latinx students, and 28.2% of white students. See J.A. at 78. Therefore, Asian
Americans were 7.5 times (33.2 / 4.4) more likely than Black students to receive an
offer, 5.4 times (33.2 / 6.1) more likely than Latinx students to receive an offer, and
1.2 (33.2 / 28.2) times more likely to receive an offer than white students. See id.
21
  In 2020, 31.9% of Asian American students who took the SHSAT were offered a
spot at a Specialized High School, in comparison to 5.4% of Black students, 6.4%
of Latinx students, and 23.7% of white students. See id. Therefore, Asian Americans
were six times (31.9 / 5.4) more likely than Black students to receive an offer, five


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      H.     Thus, when comparing the applicant pool to the pool of admitted

students, the record is devoid of any evidence that the Discovery Expansion had a

discriminatory effect on Asian Americans across the board. See Montgomery Cnty.,

2022 WL 3019762, at *7 (“[T]he Court cannot see how the [challenged plan] visited

a disproportionate burden on Asian American students when the percentage of

admitted Asian American students so substantially outpaces the percentage

representation among all applicants.”). Therefore, this Court should affirm the

District Court’s determination that the Discovery Expansion had no discriminatory

effect on Asian Americans. See id. (finding no discriminatory effect where, under

the challenged reforms to the admissions plan for magnet middle schools, “Asian

American students consistently . . . occupied a proportionally greater share of

students admitted into the magnet as compared to their representation in the

applicant pool”).

      I.     Even if the Court were to adopt the flawed before-and-after test of

discriminatory effect posited by CACAGNY and the other Plaintiffs in the District

Court, there is still no discriminatory effect on Asian Americans, as Asian American

applicants’ chances of admission to the Specialized High Schools increased with the




times (31.9 / 6.4) more likely than Latinx students to receive an offer, and 1.3 (31.9
/ 23.7) times more likely to receive an offer than white students. See id.


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adoption of the Discovery Expansion.22 As CACAGNY concedes, see Appellants’

Op. Br. at 46 n.35, compared to 2018, when the Discovery Expansion was not yet in

place, the percentage of offers received by Asian Americans, the offer-rate among

Asian Americans, and the spread between Asian Americans’ share of offers and

share of test-takers all increased in the two years following the implementation of

the Discovery Expansion. J.A. 268.

      D.     Discriminatory Effect Cannot Be Shown Through Isolated
             Examples at Two of the Eight Specialized High Schools.
      J.     Despite conceding that the Discovery Expansion did not lead to

reduction of Asian-American students admitted to the Specialized High Schools,

CACAGNY incorrectly argues that discriminatory effect can be shown by an

insignificant impact for applicants to just two of the eight schools. App. Op. Br. at

56. It insists that the District Court erred in disregarding alleged harm to individual




22
    Because CACAGNY incorrectly asserts that it does not need to show
discriminatory effect, it argues that this Court need not resolve the disagreement
between the parties about the correct approach for evaluating discriminatory effect.
App. Op. Br. at 46 n.35. Below, Plaintiffs argued that the “proper approach for
evaluating disparate impact is to compare Asian-American representation before and
after the challenged changes,” while Defendants advocated that the District Court
“compare the proportion of Asian Americans in the ‘applicant pool’ to the proportion
who were given offers.” Id. As CACAGNY has conceded, there is no discriminatory
effect under either approach. See App. Op. Br. at 46 n.35 (“[N]either approach
showed an aggregate reduction in Asian-American representation in the specialized
high schools.”).

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Asian American students who were unable to go to the two most competitive

Specialized High Schools, Stuyvesant and Bronx Science. Id.

      K.     As the District Court held, CACAGNY’s attempt to create

discriminatory effect based on insignificant “trends in two of the eight [Specialized

High] Schools cannot “sustain [its] disparate impact claim.” McAuliffe III, 2022 WL

4095906, at *12. As discussed above, to sustain an Equal Protection claim involving

a facially race-neutral policy in this circuit, a plaintiff must show a discriminatory

effect. From the Supreme Court’s earliest consideration, discriminatory effect is

measured by the challenged law’s impact on a group-wide basis. See Washington,

426 U.S. at 242 (describing discriminatory effect as whether a law “may affect a

greater proportion of one race than another.”). Courts have continued to evaluate

discriminatory effect using aggregate class-wide data, not cherry-picked effects on

individual people. See Anderson, 375 F.3d at 89 (“Courts can only infer that an

invidious racial purpose motivated a facially neutral policy when that policy creates

disproportionate racial results.”).

      L.     Any policy change is likely to have an effect—positive or negative—

on at least one person. Yet, CACAGNY argues that any facially neutral policy

change that yields a different result for one or a few members of a protected class

has a discriminatory effect. That is not the law. “[S]uch a reduction is not a

consequence that the caselaw considers a disparate impact.” Bos. Parent Coalition


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for Acad. Excellence Corp. v. Sch. Comm. of Boston, No. 21-10330-WGY, 2021 WL

4489840, at *15 (D. Mass. Oct. 1 2021) (hereinafter “Boston Parent III”); see also

Boston Parent II, 996 F.3d at 46 (noting that there was no discriminatory effect on

white and Asian American students where those students were still markedly

overrepresented, albeit less so, in the exam schools after the admissions policy

change necessitated by the pandemic); Anderson, 375 F.3d at 90 (“Isolated examples

that only show a small net loss of seats to white students in selected schools is a far

cry from showing that the [challenged plan] disproportionately affects white students

in the [school district] system.”).

      M.     As already set forth, proving that a facially race-neutral policy is

discriminatory requires a demonstration of discriminatory effect. While CACAGNY

may be able to point to isolated instances where individual students fared worse

under a new policy, at the same time, there are no doubt many Asian American

applicants who fared better. This is why a showing of disparate impact always

requires looking at the group overall, rather than the experience of a handful of

individuals, to determine whether a law is in fact having a detrimental effect on the

class that is claiming discrimination. When courts evaluate “a facially race-neutral

policy, the impact of race on an individual outcome is not always immediately clear”

and thus, “courts can only infer that an invidious racial purpose motivated a facially




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race-neutral policy when that policy creates disproportionate racial results.”

Anderson, 375 F.3d at 89.

      N.     By focusing on a policy’s effect on a few individuals, CACAGNY’s

argument transforms “a variable consequence” of a defendant’s policies into a

constitutional “baseline against which all future [outcomes] must comport,” thereby

entrenching the status quo. Boston Parent III, 2021 WL 4489840, at *15 n.20. Using

a current government policy to “create[] a floor against which all future policies will

be judged [risks making it] exceedingly difficult for government actors to change

existing policies that have a real (albeit unintentional) disparate impact.” Coalition

for TJ, 2022 WL 986994, at *3. The “Equal Protection Clause is not a bulwark for

the status quo.” Bos. Parent Coal. for Acad. Excellence Corp. v. Sch. Comm. of City

of Bos., No. 21-cv-10330, 2021 WL 1422827, at *14 n.18 (D. Mass. Apr. 15, 2021)

(“Boston Parent I”), opinion withdrawn for other reasons, Bos. Parent Coalition for

Acad. Excellence Corp. v. Sch. Comm. of City of Bos., No. 21-10330-WGY, 2021

WL 3012618 (D. Mass. July 9, 2021); cf. Griggs v. Duke Power Co., 401 U.S. 424,

430 (1971) (explaining, in the employment context, that disparate impact liability

targets policies that “operate to ‘freeze’ the status quo of prior discriminatory

employment practices”).

      O.     Furthermore, selectively focusing on variations only at the two most

competitive of the eight Specialized High Schools does not establish that the


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Discovery Expansion had a discriminatory effect on Asian Americans. CACAGNY

challenges the Discovery Expansion as a whole, not school by school, yet it cherry

picks data from a few schools in order to manufacture a discriminatory impact. See

J.A. 20 at ¶ 62. Likewise, the requested relief concerns the Specialized High School

program as a whole, not by individual school. J.A. 22.

      P.     CACAGNY does not address the cases above demonstrating that

disparate impact is shown by looking at the overall impact on a racial group. Instead,

it only argues that the District Court’s reliance on Sharif v. New York State Education

Department was in error. Sharif is a disparate impact case under Title IX that holds

“[i]n a case alleging statewide discrimination, [ ] focus[ing on individual schools and

counties] does not rebut plaintiffs’ statewide prima facie case.” 709 F. Supp. 345,

362 (S.D.N.Y. 1989). CACAGNY argues that Sharif is distinguishable because it

was a disparate impact case, whereas here, CACAGNY is alleging discriminatory

intent and an Equal Protection violation. But, as explained above, CACAGNY must

show discriminatory effect to prevail on its intentional discrimination claim under

the Equal Protection Clause. And, because its claim applies to the entire Discovery

Expansion, the District Court’s analogy to Sharif and the body of case law describing

the correct method for showing discriminatory effect is sound.




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      Q.       Given that CACAGNY’s attempts to manufacture legally cognizable

discriminatory effect have all failed, this Court should affirm the District Court’s

grant of summary judgment for the Defendants-Appellees.

      E.     This Court Should Reject CACAGNY’s Argument That the
             Discovery Expansion Treats Asian Americans Unequally and Thus
             Should Be Subjected to the Standard Applied to Facially
             Discriminatory Policies Rather Than Race-Neutral Policies.
      Having failed to establish that the Discovery Expansion had a discriminatory

effect on Asian Americans, CACAGNY attempts to shoehorn arguments about the

motivations of policy makers into its appeal by arguing that the Discovery Expansion

intentionally treated Asian Americans unequally. See App. Op. Br. at 53.

      Despite conceding that Discovery Expansion is facially neutral, CACAGNY

first argues that NYCDOE “purposefully imposed unequal treatment based on race,”

id. at 50, claiming that the ENI serves as a proxy for race as it excluded some

majority-Asian-American middle schools. App. Op. Br. at 52–53, 55. And thus, the

Discovery Expansion should be treated as “constitutionally suspect,” just as an

“express racial classification.” App. Opp. Br. at 51. CACAGNY is incorrect.

      The Discovery Expansion and the use of the ENI are facially race-neutral

policies, as CACAGNY concedes. Thus “good faith [is] presumed . . .” Regents of

Univ. of California v. Bakke, 438 U.S. 265, 318–19 (1978). On the other hand,

“[p]roxy discrimination is a form of facial discrimination [that] arises when the

defendant enacts a law or policy that treats individuals differently on the basis of


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seemingly neutral criteria that are so closely associated with the disfavored group

that discrimination on the basis of seemingly neutral criteria is, constructively, facial

discrimination against the disfavored group.” Pac. Shores Prop., LLC v. City of

Newport Beach, 730 F.3d 1142, 1160 n.23 (9th Cir. 2013).

       The record does not demonstrate that ENI operates in any way as a proxy for

race such that it is constructively facial discrimination against Asian Americans.

CACAGNY complains that eleven disproportionately Asian American middle

schools were rendered ineligible for the Discovery program by the Discovery

Expansion, App. Op. Br. at 52, but those eleven schools are only about a tenth of the

middle schools that are excluded from the Discovery Expansion, J.A. 337.

Moreover, as CACAGNY concedes, the majority of “heavily Asian-American”

middle schools were not rendered ineligible. App. Op. Br. 53. Merely characterizing

indicia of concentrated poverty as a racial proxy, without evidence that it is so, does

not transform a facially race-neutral, evenly-applied policy into one imbued with

discriminatory intent.

      Here, the ENI does not turn on race, but on concentrated poverty levels. See

J.A. 512. As discussed by the District Court and demonstrated by the record before

it, the ENI is a measure created by NYCDOE that estimates the percentage of

students in that school facing economic hardship. J.A. 245. The ENI is calculated

based upon the average of the Economic Need Values (ENV) of the students


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attending the school, which is determined by assessing non-race-related factors such

as whether the student lives in a household eligible for public assistance from the

New York City Human Resources Administration, has lived in temporary housing,

has a home language other than English, and is enrolled in a NYCDOE school for

the first time within the past four years prior to application. J.A. 246. If none of these

factors are met, the student’s ENV is calculated by looking at the percentage of

families with school-age children in the student’s census track whose income is

below the calculated poverty income level. Id. Race is not factored into any of these

indicia. See id.

      This use of these socioeconomic measures to increase opportunities for all

students at schools with concentrated poverty is so clearly constitutional that “the

legitimate noninvidious [sic] purposes of a law cannot be missed.” Feeney, 442 U.S.

at 275. That socioeconomic measures have some correlation with race does not make

them proxies. Indeed, “[o]ne may not simply bootstrap any neutral classification

arguably correlated with race, and claiming that it is an impermissible proxy

therefor, strip away all forms of diversity.” Boston Parent I, 2021 WL 1422827, at

*14 n.18. “That is neither the spirit nor the letter of the [Equal Protection] doctrine,

and to allow such efforts to succeed by delegitimizing other forms of diversity will

be the undoing of the doctrine.” Id.




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      Additionally, CACAGNY’s argument ignores that local governments are

permitted to “take race into consideration in its policymaking and not run afoul of

the Equal Protection Clause.” Montgomery Cnty., 560 F. Supp. 3d at 951 (citation

omitted). Awareness of the racial demographics, such as those reflected in ENI

bands, does not amount to evidence of discriminatory intent. Moreover, the mere

“consideration or awareness of race while developing or selecting a policy . . . is not

in and of itself racial classification.” Lower Merion Sch. Dist., 665 F.3d at 548.

      And even if NYCDOE was motivated by increasing socioeconomic,

geographic, and racial diversity in instituting the Discovery Expansion——“the

mere invocation of racial diversity as a goal is insufficient to subject [an otherwise

race-neutral plan] to strict scrutiny.” Anderson, 375 F.3d at 87 (holding that strict

scrutiny did not apply to an attendance plan adopted based on desire to promote

student choice, equitable access to resources for all students, and racial diversity.)

      CACAGNY’s reliance on N.C. State Conf. NAACP v. McCrory, 831 F.3d 204,

232 (4th Cir. 2016) is equally misplaced. App. Op. Br. 57. In McCrory, the Fourth

Circuit found that a revision to North Carolina’s voting rights laws violated the

Equal Protection Clause. McCrory, 831 F.3d at 204. Noting that the State’s “new

provisions target African Americans with almost surgical precision” and in essence

“took away [minority voters’] opportunity because [they] were about to exercise it,”

the court found that the State’s action bore the mark of intentional discrimination.


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Id. at 214–15 (citations omitted). There is no such “surgical precision” here or even

any record evidence that the changes to ENI that were adopted as part of the

Discovery Expansion targeted either disproportionately Asian American middle

schools or Asian American students in general. CACAGNY itself admits that most

“heavily Asian-American” middle schools remained Discovery eligible, App. Op.

Br. 53, and “[a] higher percentage of Asian American test takers received offers in

2019 and 2020 than any other major ethnic or racial group.” J.A. 514. The contrast

with McCrory could not be starker.

      In sum, ENI is not a proxy for race, enrollment in a middle school with less

concentrated poverty is not a protected class, there is nothing nefarious about

policymakers being aware of the demographic implications of their policy decisions,

and—in any event—CACAGNY’s discriminatory intent arguments are not properly

before this Court.

                                 CONCLUSION
      At issue before this Court is whether the Discovery Expansion had a

discriminatory effect on Asian Americans. The record establishes that it did not.

Accordingly, the District Court did not err in granting summary judgment for the

Defendants-Appellees. The Court should reject CACAGNY’s attempts to rewrite

Equal Protection jurisprudence to entrench the status quo and deter school systems

from pursuing race-neutral reforms to equalize access to publicly-funded



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educational opportunities. It should go without saying that a litigant should not be

allowed to leverage the Equal Protection Clause to prevent all children from

enjoying the Equal Protection of the law.

      For the foregoing reasons, Intervenors-Appellees respectfully request that this

Court affirm the District Court’s grant of summary judgment.

DATED: April 14, 2023

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      Pursuant to Fed. R. App. P. 32 (a)(7)(C), I certify that this brief is

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      I hereby certify that on April 14, 2023, I electronically filed the foregoing

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